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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

In re:
                                                          CASE NO.: 18-03980-JAF
SEAN CHRISTOPHER STENSON and
LINDA ROSSI STENSON,

      Debtors.
_________________________________/

                                    PROOF OF SERVICE

         The undersigned hereby certifies that a true and accurate copy of the Order Approving

Application to Employ/Retain Naji Hassan as Real Estate Agent for the Estate (Doc No. 16) was

served this 21st day of December, 2018 through the Court’s CM/ECF system, to the parties listed

below, at their e-mail addresses registered with the Court and/or by regular U.S. Mail, postage

prepaid, to:

 Sean Christopher Stenson                           United States Trustee - JAX 7
 Linda Rossi Stenson                                George C. Young Federal Building
 1921 Belhaven Drive                                400 West Washington Street, Suite 1100
 Orange Park, Florida 32065                         Orlando, Florida 32801

 Naji Hassan
 7 Star Realty, Inc.
 9951 Atlantic Boulevard, Suite 130
 Jacksonville, Florida 32225


And by CM/ECF electronic notice to Katheryn Hancock, Esq., Counsel for Debtors.


                                                   /s/ Eugene H. Johnson____________
                                                   Eugene H. Johnson, Esq. (0032105)
                                                   100 N. Laura Street, Suite 701
                                                   Jacksonville, FL 32202
                                                   (904) 652-2400 Telephone
                                                   (904) 652-2401 Facsimile
                                                   ehj@johnsonlawpa.com
